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    8
    9                          UNITED STATES DISTRICT COURT
   10                        CENTRAL DISTRICT OF CALIFORNIA
   11
   12    MIGUEL GUTIERREZ,           )             Case No. 2:19-cv-07077-FWS-AFM
                                     )
   13                 Plaintiffs,    )
                                     )             NOTICE OF LODGING OF
   14    v.                          )             [PROPOSED] JUDGMENT
                                     )
   15    NEW HOPE HARVESTING, LLC; )
         GUADALUPE GASPAR;           )             Hon. Judge Fred W. Slaughter
   16    EUGENIA GASPAR MARTINEZ; )
         ARACELI GASPAR GASPAR       )
   17    MARTINEZ; and JDB PRO, INC. )
         d/b/a CENTRAL WEST          )
   18    PRODUCE, Inclusive,         )
                                     )
   19                 Defendants.    )
   20
   21
   22           Pursuant to the Court’s order dated September 21, 2022 (Docket No. 154),
   23    issued in connection with the Cross-Motions for Summary Judgment filed by
   24    Defendant JDB Pro, Inc. d/b/a/ Central West Produce (“Defendant”) and Plaintiff
   25    Miguel Gutierrez (Docket No. 133), Defendant hereby lodges its [Proposed]
   26    Judgment in favor of Defendant as to all causes of action and claims asserted
   27    against it in this action.
   28    ///
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                    NOTICE OF LODGING OF [PROPOSED] JUDGMENT
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    1    DATED: September 22, 2022         MULLEN & HENZELL L.L.P.
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                                           By:_______________________________
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    5
                                           Attorneys for Defendant
    6                                      JDB PRO, INC. DBA CENTRAL
                                           WEST PRODUCE
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                  NOTICE OF LODGING OF [PROPOSED] JUDGMENT
